       UNITED STATES DISTRICT COURT
       EASTERN DISTRICT OF NEW YORK

 GUSTAVO GONZALEZ and WILLIAM KANE,
 individually and on behalf of all others similarly
 situated,                                                Case No. 2:24-cv-08894-SJB-JMW
                       Plaintiffs,
         v.                                                    MOTION FOR
                                                               ADMISSION PRO HAC VICE
 800-FLOWERS, INC., D/B/A 1-800-
 FLOWERS.COM, HARRY & DAVID,
 PERSONALIZATION MALL, SHARI’S BERRIES,
 1-800-BASKETS.COM, SIMPLY CHOCOLATE,
 FRUIT BOUQUETS.COM, CHERYL’S COOKIES,
 THE POPCORN FACTORY, WOLFERMAN’S
 BAKERY, and VITAL CHOICE,

                       Defendants.




       Pursuant to Rule 1.3 of the Local Rules of the United States District Court for the

Southern and Eastern Districts of New York, Ari N. Rothman hereby moves this Court for an

Order for admission to practice Pro Hac Vice to appear as counsel for Defendants 800-

FLOWERS, Inc., Harry & David, Personalization Mall, Shari’s Berries, 1-800-Baskets.Com,

Simply Chocolate, FruitBouquets.Com, Cheryl’s Cookies, The Popcorn Factory, Wolferman’s
Bakery, and Vital Choice in the above-captioned action.

       I am a member in good standing of the bar of the District of Columbia, the State of

Nevada, the State of California, and an inactive member in good standing of the bar of State of

Ohio. There are no pending disciplinary proceedings against me in any state or federal court. I

have never been convicted of a felony. I have never been censured, suspended, disbarred, or




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denied admission or readmission by any court. I have attached the affidavit pursuant to Local

Rule 1.3.


Dated: Washington, DC                               Respectfully submitted,
       March 12, 2025
                                                    By:    /s/ Ari N. Rothman
                                                          Ari N. Rothman
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                                                          Attorneys for Defendants




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